       Case 1:07-cr-00315-AWI Document 88 Filed 06/08/09 Page 1 of 3


 1    TOM STANLEY
     315 W. 9th Street
 2   Suite 906
     Los Angeles, CA 90015
 3   SBN 45990
     (818) 986-1506
 4
     Attorney for Defendant
 5   CARLOS SARABIA
 6
 7
 8
                                  UNITED STATES DISTRICT COURT
 9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA                       )      CASE NO. CR 07-315 OWW
                                                    )
13                                                  )       STIPULATION AND
                            Plaintiff,              )       ORDER CONTINUING HEARING
14                                                  )       AND EXCLUDING TIME
                    v.                              )
15                                                  )
                                                    )
16                                                  )
     CARLOS SARABIA, et al,                         )
17                                                  )
                                                    )
18                       Defendants.               )
                                                   )
19
20          Defendant, Carlos Sarabia, by and through his counsel, Tom Stanley and Plaintiff, United
21   States of America, by its counsel, Assistant United States Attorney Kathleen A. Servatius, stipulate
22   and agree that the Status Conference/Change of Plea hearing set for June 8, 2009, at 9:00 a.m. be
23   continued to June 29, 2009, at 1:30 p.m.
24          The parties further stipulate that the time that the time period up to an including the hearing
25   date of June 29, 2009, should be excluded from the computation of time for commencement of trial
26   under the Speedy Trial Act based upon the parties need to continue settlement discussions and
27   negotiations. This process has taken more time than the parties originally anticipated. For this
28   reason, the defendants, defense counsel, and the government agree additional time is required for
     the defense and government to try and resolve this case in the interests of justice under 18 U.S.C.
       Case 1:07-cr-00315-AWI Document 88 Filed 06/08/09 Page 2 of 3


 1   § 3161 (h) (8) (B) (iv).
 2   Dated: June 4, 2009.
 3                                       Respectfully submitted,
 4
 5                                       /s/Tom Stanley
                                         TOM STANLEY
 6                                       Attorney for Defendant
                                         CARLOS SARABIA
 7
 8
     Dated: June 4, 2009.               /s/Tom Stanley
 9                                      AUSA KATHLEEN A. SERVATIUS
                                        Authorized to sign on 6/4/09
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                         -2-
       Case 1:07-cr-00315-AWI Document 88 Filed 06/08/09 Page 3 of 3


 1                                        ORDER
 2           Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
 3           1. Based upon the representations and stipulation of counsel, the Court continues the Status
 4   Conference/Change of Plea hearing from June 8, 2009, at 9:00 a.m. until June 29, 2009, at 1:30
 5   p.m.
 6          2. Based upon the representations and stipulation of the parties, the Court finds that the time
 7   exclusion under 18 U.S.C. § 3161 (h) (8) (B) (iv) applies and the ends of justice outweigh the best
 8   interest of the public and the defendant in a speedy trial. Accordingly, time under the Speedy Trial
 9   Act shall be excluded up to and including June 29, 2009, at 1:30 p.m.
10
11
12   IT IS SO ORDERED.
13   Dated: June 5, 2009                                /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      -3-
